
Pursuant to the mandate of the Supreme Court of Alabama this case was remanded to the Circuit Court of Mobile County to conduct an evidentiary hearing to determine if the pre-trial statements of the two rape victims differed in any respect from the statements made by them to the jury during the trial. The trial judge conducted such hearing and made the following return to the remand:
 "RETURN TO REMAND
STATE OF ALABAMA ) )
VS. CC-79-1806 and ) CIRCUIT COURT, MOBILE COUNTY, CC-79-1807 ) ) ALABAMA. FREDDIE LEE PATE ) (WM-BD 11/16/54) )
"The Court conducted a hearing in compliance with the remand in the case of Freddie Lee Pate vs. State of Alabama, and holds that the pre-trial statements of Jean Marie Joan Delmas and Kimberly Anne McFarlain do not differ in any respect from *Page 1146 
their testimony during the trial before a jury and that the statements requested by the defendant at trial were not of such a nature that without them the defendant's trial was fundamentally unfair.
"Done this the 6th day of November, 1981.
 /s/ D.J. Matranga
Judge, Circuit Court, Mobile County, Alabama."
This court has again reviewed the entire record on appeal, including the testimony of the rape victims, and has concluded there is no reversible error in the record. The judgment of conviction is affirmed.
AFFIRMED.
All the Judges concur.